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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )
                vs.                               )                8:05CR94
                                                  )
VICENTE PADILLA-NAVARRO,                          )                  ORDER
JOSE ELIAS GARCIA,                                )
                                                  )
                       Defendants.                )




        Before the court is defendant Vincente Padilla-Navarro’s Motion for Continuance [76]
of previously scheduled evidentiary hearing. Neither the co-defendant nor the government
have an objection to the continuance. Good cause being shown, the Motion for Continuance
shall be granted and the previously set evidentiary hearing will be rescheduled.

         IT IS ORDERED:

         1.     That the Motion for Continuance [76] filed by defendant Vincente Padilla-
                Navarro is granted.

         2.     The evidentiary hearing on the Motion to Suppress Wiretap Evidence [66] filed
                by defendant Jose Elias Garcia and joined by defendant t Vincente Padilla-
                Navarro is rescheduled for September 9, 2005 at 9:00 a.m. before Magistrate
                Judge F.A. Gossett, Courtroom No. 6, Second Floor, Roman L. Hruska U.S.
                Courthouse, 111 So. 18th Plaza, Omaha, Nebraska.

         Since this is a criminal case, the defendants must be present, unless excused by the
Court.

         DATED this 8th day of August, 2005.

                                               BY THE COURT:


                                               s/ F.A. Gossett
                                               United States Magistrate Judge
